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 15                        UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
 17
 18   HALEH ALLAHVERDI and HALEY                  Case No. 2:20-cv-10341-SSS-JPR
      BURGESS, individually and on behalf of
 19   all others similarly situated,              STIPULATION OF
                                                  VOLUNTARY DISMISSAL
 20                     Plaintiff,                PURSUANT TO FEDERAL
                                                  RULE OF CIVIL PROCEDURE
 21          v.                                   41(a)(1)(A)(ii)
 22   THINX INC.,                                 Judge: Hon. Sunshine S. Sykes
                                                  Courtroom: 2
 23                     Defendant.
                                                  SAC Filed: September 23, 2021
 24                                               Trial Date: February 7, 2023
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                                 STIPULATION OF VOLUNTARY DISMISSAL
      SF-4863694.2
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      SF-4863694.2
Case 2:20-cv-10341-SSS-JPR Document 71 Filed 06/27/22 Page 3 of 4 Page ID #:914



  1          Plaintiffs Haleh Allahverdi and Haley Burgess and Defendant Thinx Inc., by
  2   and through their respective counsel, stipulate pursuant to Federal Rule of Civil
  3   Procedure 41(a)(1)(A)(ii) to dismiss the above-captioned action without prejudice,
  4   with each party to bear its own costs and expenses, including attorneys’ fees.
  5
  6    Dated: June 27, 2022                      MILBERG COLEMAN BRYSON
                                                 PHILLIPS GROSSMAN PLLC
  7
  8                                                 By: /s/ Erin J. Ruben
                                                            Erin J. Ruben
  9
                                                 Attorneys for Plaintiffs
 10                                              Haleh Allahverdi and Haley Burgess
 11
 12    Dated: June 27, 2022                      MORRISON & FOERSTER LLP
 13
                                                    By:/s/ Purvi G. Patel
 14                                                        Purvi G. Patel
 15                                                 Attorneys for Defendant
                                                    Thinx Inc.
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  1
                                    ECF ATTESTATION
  2
  3          I, Erin J. Ruben, am the ECF User whose ID and password are being used to

  4   file this STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO

  5   FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii). In accordance with

  6   Local Rule 5-4.3.4, concurrence in and authorization of the filing of this document

  7   has been obtained from Purvi G. Patel, counsel for Defendant Thinx Inc., and I

  8   shall maintain records to support this concurrence for subsequent production for the

  9   Court if so ordered or for inspection upon request by a party.

 10
      Dated: June 27, 2022                       MILBERG COLEMAN BRYSON
 11                                              PHILLIPS GROSSMAN PLLC
 12
                                                    By:/s/ Erin J. Ruben
 13                                                       Erin J. Ruben
 14                                              Attorneys for Plaintiffs
                                                 Haleh Allahverdi and Haley Burgess
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                               STIPULATION OF VOLUNTARY DISMISSAL
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